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&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL C

&nbsp;

&nbsp;FEBRUARY 4, 2011



&nbsp;

&nbsp;



&nbsp;

&nbsp;

STANLEY EUGENE HOLLINGS, APPELLANT

&nbsp;

v.

&nbsp;

THE STATE OF TEXAS, APPELLEE 



&nbsp;

&nbsp;



&nbsp;

&nbsp;FROM THE 181ST DISTRICT COURT
OF RANDALL COUNTY;

&nbsp;

NO. 20,292-B; HONORABLE JOHN B. BOARD, JUDGE



&nbsp;

&nbsp;



&nbsp;

Before QUINN, C.J., and HANCOCK and
PIRTLE, JJ.

&nbsp;

&nbsp;

MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant, Stanley Eugene
Hollings, was convicted following a jury trial of unauthorized use of a motor
vehicle[1] enhanced and sentenced to
twenty years confinement.&nbsp; In a single
issue, Appellant asserts the State's evidence was legally insufficient in
establishing that Appellant operated the same vehicle as that reported stolen.&nbsp; We affirm.&nbsp;
&nbsp;

Background

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On January
7, 2009, a Randall County Grand Jury returned an indictment alleging that, on or
about November 5, 2008, Appellant intentionally and knowingly operated a
motor-propelled vehicle, to-wit:&nbsp; a
Toyota motor vehicle, without the effective consent of its owner, Jeri
Cole.&nbsp; The indictment also contained an
enhancement paragraph alleging two prior felony convictions for burglary of a
vehicle and delivery of a simulated controlled substance.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In May 2010, a three day jury trial
was held.&nbsp; The State's evidence
established that Cole would sometimes loan Appellant her car, a silver Toyota RAV4, in return for drugs.&nbsp; When she came to believe Appellant was taking
advantage of her, she denied him any further use of her car.&nbsp; After spending the night at Cole's house,
Appellant left the next morning with Cole's car and her cell phone.&nbsp; Although Cole was later able to track
Appellant down while he was driving her car, she was unable to convince him to
return it to her.&nbsp; Appellant subsequently
left Amarillo to purchase drugs in Ohio, and Cole called the police. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Officer Cory Jones, a Corporal with
the Amarillo Police Department, was dispatched to Cole's house to take a
complaint.&nbsp; After speaking with Cole, Officer
Jones entered information describing her car into a national database[2] whereby, if an officer
anywhere in the country came across Cole's car and ran the license number, the
database would show the car was stolen.&nbsp; He
also listed Appellant in the database as a suspect. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On November 11, 2008, Officer
Jennifer Roar of the City of Circleville, Ohio Police Department was patrolling
an area surrounding a house known as a source for narcotics and pills.&nbsp; On the front porch of the house, Officer Roar
observed Dora Castillo and Rodney Evans, known narcotics abusers.&nbsp; She also spotted a car parked in front of the
house with Texas license plates.&nbsp; She
circled the block and, when she returned, Castillo was pulling the car out of
the parking space.&nbsp; Castillo was
accompanied by Evans and two passengers.&nbsp;
The car was a silver Toyota RAV4.&nbsp; Officer Roar ran the license plate through
the law enforcement automated data system and their communications center.&nbsp; She was advised that the Toyota RAV4 had been
reported stolen and Appellant was a suspect in the car's theft.&nbsp; She executed a felony stop and arrested
Appellant.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Cole testified that, when she
discovered her car was missing and her cell phone gone, a friend who knew
Appellant's whereabouts came and picked her up in order to help her retrieve
her car.&nbsp; They subsequently observed
Appellant driving the car with a female passenger.&nbsp; Both cars stopped and an argument
ensued.&nbsp; When Cole's friend led her back
to his car, Appellant drove away.&nbsp; When
Appellant did not return her car as she had requested, she complained to APD.&nbsp; Subsequently, Cole was informed by her
insurance company that her car had been located in Circleville, Ohio.&nbsp; The insurance company elected to repair
damage to the car in Ohio and later shipped the car to her in Texas.&nbsp;&nbsp;&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant testified that, after the
confrontation with Cole, he and Castillo left Amarillo, Texas, and drove to
Circleville, Ohio, to purchase drugs where Castillo had connections.&nbsp; He testified Castillo assisted him with driving.&nbsp; When he was arrested in Ohio, Appellant told
the officers that his girlfriend had lent the car to him.&nbsp; His plan was "[t]o bring the car and the
drugs back" to Texas.&nbsp; He further
testified he had permission to use Cole's car at the time of his arrest.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; At the trial's conclusion, the jury
convicted Appellant of unauthorized use of a motor vehicle, found the
enhancements to be true, and sentenced him to twenty years confinement.&nbsp; This appeal followed.

Discussion

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant
asserts the State's evidence at trial was legally insufficient because the
State failed to prove that the car driven by Appellant in Ohio was Cole's car. Appellant
contends that the only evidence on
this issue was Cole's testimony that she reported a "Toyota Rav 4"
stolen and Appellant was apprehended in Ohio as a passenger in
a "silver RAV 4."&nbsp; Appellant
asserts the outcome in this appeal is governed by Hooper v. State, 788 S.W.2d 24 (Tex.App.--Houston [1st Dist.] 1987,
no pet.), wherein the court held that, where the only evidence at trial was that the victim's car was a Buick Regal
and the defendant was apprehended in a Buick Regal, the State's evidence was
legally insufficient to establish that the victim was the owner of the specific
car being driven by the defendant.&nbsp; Id. at 25-26.&nbsp; 

&nbsp;

Standard of Review

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The Texas
Court of Criminal Appeals has recently held that the only standard that a
reviewing court should apply in determining whether the evidence is sufficient
to support each element of a criminal offense the State is required to prove
beyond a reasonable doubt is the standard set forth in Jackson v. Virginia, 443 U.S. 307, 33 S.Ct. 2781,
61 L.Ed.2d 560 (1979).&nbsp; See Brooks v. State, 323 S.W.3d 893, 912
(Tex.Crim.App. 2010)[3]&nbsp; Under
that standard, in assessing the sufficiency of the evidence to support a
criminal conviction, this Court considers all the evidence in the light most
favorable to the verdict and determines whether, based on that evidence and
reasonable inferences to be drawn therefrom, a rational trier of fact could
have found the essential elements of the crime beyond a reasonable doubt.&nbsp; See
Jackson, 443 U.S. at 319; Brooks, 323 S.W.3d at 912.&nbsp; We
measure the legal
sufficiency of the evidence by the elements of the offense as defined by a
hypothetically correct jury charge.&nbsp; Malik v. State, 953 S.W.2d 234, 240 (Tex.Crim.App. 1997).&nbsp; In our review, we must evaluate all of the
evidence in the record, both direct and circumstantial, whether admissible or
inadmissible.&nbsp; Dewberry v. State, 4 S.W.3d 735, 740 (Tex.Crim.App. 1999), cert.
denied, 529 U.S. 1131, 120 S.Ct. 2008, 146 L.Ed.2d 958 (2000).




Unauthorized Use of a Motor Vehicle

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A person commits the
offense of unauthorized use of a motor vehicle when "he intentionally or
knowingly operates another's boat, airplane, or motor-propelled vehicle without
the effective consent of the owner."&nbsp;
Tex. Penal Code Ann. § 31.07(a) (West 2003).&nbsp; At trial, the State was required to prove,
beyond a reasonable doubt, every element of the crime with which Appellant was
charged; Winn v. State, 828 S.W.2d
284, 285 (Tex.App.--Houston [14th Dist.] 1992, no pet.) (citing
Butler v. State, 769 S.W.2d 234, 239
(Tex.Crim.App. 1989)), and an essential element of the offense of unauthorized
use of a motor vehicle is that Appellant operated a car owned by Cole.&nbsp; Id.
(citing Abran v. State, 788 S.W.2d
375, 376 (Tex.App.--Houston [1st Dist.] 1988, no pet.)).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Viewing the evidence in a light most
favorable to the verdict, Officer Cory Jones's testimony established that he
took Cole's complaint and entered information describing her car, a silver 2001
Toyota RAV4 with Texas license plate number 710 DLN, as stolen in a national
database that could be referenced by any officer in the nation if the car was
spotted.&nbsp; Appellant was also entered as a
suspect in the database.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant testified that, after a
confrontation between himself and Cole, he left Amarillo, Texas, in Cole's car
and drove to Circleville, Ohio, to purchase drugs.&nbsp; Officer Roar testified that she spotted
Appellant in the company of narcotics abusers in front of a known drug house in
a silver Toyota RAV4 with Texas license plates.&nbsp; Officer Roar followed the car and observed
the driver, Appellant's passenger at the time of his confrontation with Cole in
Amarillo--Castillo, driving erratically.&nbsp;
When Officer Roar ran the license plate number through the law enforcement
automated data system and her communications center, she was advised that the
car was stolen and Appellant was a suspect in the car's theft.&nbsp; When he was arrested, Appellant testified he
told Ohio police that his girlfriend had lent him the car and his plan was
"[t]o bring the car and the drugs back" to Texas.&nbsp; Subsequently, Cole was informed by
her insurance company that her car had been located in Circleville, Ohio.&nbsp; The car was repaired in Ohio by her insurance
company and then shipped to her in Texas.&nbsp;&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Thus, unlike Hooper where the only
evidence was that the victim's car was a Buick Regal and the defendant was
apprehended in a Buick Regal; 788 S.W.2d 25-26, here, we have evidence
that Officer Jones entered the vehicle's color, make, model, and license plate
number into a national database used by police officers to identify stolen cars
and the car was subsequently identified by that information by Officer Roar at
the time of Appellant's arrest in Ohio.&nbsp;
In addition, Cole testified that, at the time of her confrontation with
Appellant in Amarillo, Appellant was driving her car without her
permission.&nbsp; Appellant subsequently testified
that, following the confrontation, he and Castillo drove the car to Ohio to
purchase drugs because Castillo had connections there.&nbsp; When he was arrested in Ohio, Appellant told
police that Cole had lent him the car and his plan was to bring it back to
Texas.&nbsp; Lastly, Cole testified that her
insurance company informed her that her car was located in Circleville, Ohio.&nbsp; Based upon this evidence, we find that a
rational trier of fact could have found sufficient evidence to establish beyond
a reasonable doubt that Appellant operated a motor vehicle, owned by Cole,
without her effective consent.&nbsp; Accordingly,
Appellant's single issue is overruled. 




Conclusion

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The trial
court’s judgment is affirmed.&nbsp;&nbsp; 

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Patrick
A. Pirtle

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice&nbsp; 

&nbsp;

Do not publish.











[1]See Tex. Penal
Code Ann. § 31.07(a) (West 2003).





[2]Officer Jones testified Cole reported
a silver 2001 Toyota RAV4, Texas license plate number
710 DLN, as stolen.&nbsp; 





[3]Judge
Hervey delivered the opinion in Brooks,
joined by Judges Keller, Keasler, and Cochran; and, Judge Cochran delivered a
concurring opinion, joined by Judge Womack.&nbsp;
Although we are not bound by a decision of four judges, Pearson v. State, 994 S.W.2d 176, 177
n.3 (Tex.Crim.App. 1999), we read the combined opinions of Judges Hervey and
Cochran in Brooks as abandoning
factual sufficiency as an evidentiary sufficiency standard of review distinct
from legal sufficiency.







